              Case 3:11-cr-04943-W                      Document 38                Filed 11/23/11              PageID.70             Page 1 of 2


     ~AO 245B      (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                    FIf:..ED
                   Sheet 1

                                                                                                                              CLERK US DISTRICT COURT
                                              UNITED STATES DISTRICT COURT                                                     HERN DISTRICT OF CALIFORNIA
                                                                                                                                                   DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                JULIO CESAR TORRES-MARTINEZ (2)                                    Case Number: 11 CR4943-W
                                                                                    James Winston Gleave
                                                                                   Defendant's Attorney
    REGISTRATION NO. 28716298

    o
    THE DEFENDANT:
    [81 pleaded guilty to count(s) Two ofthe Superseding Infonnation
    o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1326                            DEPORTED ALIEN FOUND IN THE UNITED STATES                                                                    2




        The defendant is sentenced as provided in pages 2 through _ _.; ;.2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 [81 Count(s) in the underlying information                                          is [81    are   0 dismissed on the motion of the United States.
 [81 Assessment: $100.00-WAIVED


 [81 Fine waived                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               NOVEMBER 21, 2011
                                                                              Date of Imposition of Sentence



                                                                              HON. THOMA J. 'Y.
                                                                              UNITED STATE

                                                                                                                                                  llCR4943-W
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·   ~,




    AO 2458      (Rev. 9/00) Judgment in Criminal Case
                 Sheet 2 - Imprisonment

                                                                                                    Judgment - Page _...;;2_ of        2
     DEFENDANT: JULIO CESAR TORRES-MARTINEZ (2)
     CASE NUMBER: IICR4943-W
                                                                 IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
               SIXTY (60) DAYS




           o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
           o   The court makes the following recommendations to the Bureau of Prisons:




           o   The defendant is remanded to the custody of the United States Marshal.

           o   The defendant shall surrender to the United States Marshal for this district:
                 Oat                                     Oa.m.     Op·m.         on _ _ _ _ _ _ _ _ _ __

                    as notified by the United States Marshal.

           o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                0 ______________________________________________________
                o as notified by the United States Marshal.
                o    as notified by the Probation or Pretrial Services Office.



                                                                      RETURN

         I have executed this judgment as follows:

               Defendant delivered on                                                  to

         at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL


                                                                            By ________~~~~==~~~~~---------
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                                  llCR4943-W
